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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 ELEVANCE HEALTH, INC.,                        )
                                               )
                Plaintiff,                     )
                                               )
        v.                                     )        CAUSE NO. 1:23-cv-01497-SEB-MJD
                                               )
 VINOD MOHAN,                                  )
                                               )
                Defendant.                     )

                          NOTICE OF ANTICIPATED SETTLEMENT

        Plaintiff, Elevance Health, Inc., and Defendant, Vinod Mohan, by their respective counsel,

 pursuant to S.D. Ind. L.R. 7-1(h), respectfully submit this Notice of Anticipated Settlement and

 inform the Court that the parties have reached an agreement to settle this case. Once the settlement

 documents have been finalized and executed, the parties will file their stipulation of dismissal.

 Dated: November 2, 2023                           Respectfully submitted,

 /s/ Kandi K. Hidde (by consent)                   /s/ Philip R. Zimmerly
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                                                    Counsel for Defendant
                                                    **Admitted Pro Hac Vice
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                                    CERTIFICATE OF SERVICE

           I hereby certify that on November 2, 2023, a copy of the foregoing was filed electronically.

 Notice of this filing was served on the following counsel by operation of the Indiana electronic

 filing system and/or via email:

                                                        /s/ Philip R. Zimmerly
 4662853




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